   Case: 1:18-cv-05369 Document #: 141 Filed: 05/28/20 Page 1 of 1 PageID #:3759




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UBIQUITI NETWORKS, INC.,                                   )
                                                            )
                                          Plaintiff,        )   18 C 5369
                                                            )
                            vs.                             )   Judge Gary Feinerman
                                                            )
 CAMBIUM NETWORKS, INC., CAMBIUM                            )
 NETWORKS, LTD., BLIP NETWORKS, LLC,                        )
 WINNCOM TECHNOLOGIES, INC., SAKID                          )
 AHMED, and DMITRY MOISEEV,                                 )
                                                            )
                                       Defendants.          )

                                              ORDER

        Defendants’ motion to compel and for a protective order [119] is granted in part and
denied in part. By 6/4/2020, the parties shall file a status report with a proposed protocol (or, if
they cannot agree, competing proposals) for Plaintiff’s production and Defendants’ review of the
18 Files. The proposal(s) should take account of evolving social distancing orders and
guidelines. Defendants may not delay serving their written discovery responses until after
Plaintiff produces the 18 Files. See Fed. R. Civ. P. 26(d)(3)(B). That said, Defendants may
object to Plaintiff’s written discovery requests on appropriate grounds allowed by Civil Rule
26(b)(1) or other applicable Rules. The deadline for Defendants to serve written discovery
responses now due on 6/3/2020 is extended to 6/10/2020.



May 28, 2020                                           _________________________________
                                                             United States District Judge




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